              Case 19-14648-amc                Doc        Filed 02/20/25 Entered 02/20/25 15:59:14                               Desc Main
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 Fill in this information to identify the case:

 Debtor 1              Dennis R. Morales

 Debtor 2              Ericka L Morales
 (Spouse, if filing)

 United States Bankruptcy Court for the : Eastern                  District of Pennsylvania
                                                                              (State)

 Case number           19-14648-amc



 Official Form 410S1
 Notice of Mortgage Payment Change                                                                                                                12/15

If the debtor's plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor's
principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form as a supplement
to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.

 Name of creditor:             NEW RESIDENTIAL MORTGAGE LOAN                       Court claim no. (if known):         7
                               TRUST 2017-1


 Last four digits of any number you                 XXXXXX4871                     Date of payment change:
 use to identify the debtors’ account:                                             Must be at least 21 days after date of             4/1/2025
                                                                                   this notice

                                                                                   New total payment:
                                                                                   Principal, interest, and escrow, if any            $564.61

 Part 1:         Escrow Account Payment Adjustment

 1.     Will there be a change in the debtors’ escrow account payment?
         No
         Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe the basis
           for the change. If a statement is not attached, explain why: __________________________________________________________
           ___________________________________________________________________________________________________
            Current escrow payment:          $ 156.02                                      New escrow payment :            $ 158.77

 Part 2:         Mortgage Payment Adjustment

 2.     Will the debtors’ principal and interest payment change based on an adjustment to the interest rate in the debtors’
        variable-rate account?
         No
         Yes Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not attached,
           explain why: ___________________________________

              Current interest rate:                        %                              New interest rate:          %

              Current principal and interest payment:       $ _________                    New principal and interest payment:            $ __________

 Part 3:         Other Payment Change
 3.   Will there be a change in the debtors’ mortgage payment for a reason not listed above?
       No
       Yes. Attach a copy of any documents describing the basis for the change, such as repayment plan or loan modification agreement.
         (Court approval may be required before the payment change can take effect.)


            Reason for change: ____________________________________________________________________________


            Current mortgage payment:                $ _________                           New mortgage payment:             $ _________




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  Debtor 1             Dennis R. Morales                                             Case number (if known) 19-14648-amc
                      First Name Middle Name    Last Name


 Part 4:          Sign Here

 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.
 Check the appropriate box.

       I am the creditor.
       I am the creditor’s authorized agent

 I declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my
 knowledge, information, and reasonable belief.
  X    /s/Ciro A Mestres                                                                Date     02/18/2025
       Signature

 Print:          Ciro                  A                             Mestres            Title    Authorized Agent for Creditor
                 First Name            Middle Name                   Last Name

 Company         McCalla Raymer Leibert Pierce, LLP

 Address         1544 Old Alabama Road
                 Number      Street
                 Roswell                       GA                     30076
                 City                          State                  ZIP Code

 Contact phone        678-281-6516                                                      Email    Ciro.Mestres@mccalla.com




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                                                                  Bankruptcy Case No.:         19-14648-amc
  In Re:                                                          Chapter:                     13
             Dennis R. Morales                                    Judge:                       Ashely M. Chan
             Ericka L Morales

                                             CERTIFICATE OF SERVICE

           I, Ciro A Mestres, of McCalla Raymer Leibert Pierce, LLP, 1544 Old Alabama Road, Roswell, GA 30076,
certify:

           That I am, and at all times hereinafter mentioned, was more than 18 years of age;

         That on the date below, I caused to be served a copy of the within NOTICE OF MORTGAGE PAYMENT
CHANGE filed in this bankruptcy matter on the following parties at the addresses shown, by regular United States
Mail, with proper postage affixed, unless another manner of service is expressly indicated:

Dennis R. Morales
3820 Palmetto Street
Philadelphia, PA 19124

Ericka L Morales
3820 Palmetto Street
Philadelphia, PA 19124

MICHAEL A. CIBIK                                       (Served via ECF at help@cibiklaw.com)
Cibik Law, P.C.
1500 Walnut Street
Suite 900
Philadelphia, PA 19102

Scott F. Waterman, Trustee                             (Served via ECF at ECFMail@ReadingCh13.com)
Chapter 13 Trustee
2901 St Lawrence Ave
Suite 100
Reading, PA 19606

U.S. Trustee                                           (Served via ECF Notification)
United States Trustee
Office of the U.S. Trustee
Robert N.C. Nix Federal Building
Suite 320
Philadelphia, PA 19107

           I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND CORRECT.

 Executed on:            02/20/2025          By:     /s/Ciro A Mestres
                         (date)                     Ciro A Mestres
                                                    Authorized Agent for Creditor
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